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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MARYLAND
                                    Baltimore Division


In re: William G Spurrell
        Debtor                                            Chapter 13
                                                          Case Number 17-20192-MMH
_______________________________________


                                     NOTICE OF APPEARANCE

        Please take notice that Orlans PC has been retained as Attorney for Creditor, Nationstar

Mortgage LLC, in the entitled action. You are requested to serve a copy of each notice of any

proceeding, hearing and/or report in this matter, including, but not limited to notices required by

pursuant to Bankruptcy Rules 9010(b) and 2002 and the Local Rules of Bankruptcy Procedure, upon

the undersigned at the address indicated below.

Date: _August 14, 2017___

                                                          Respectfully submitted,

                                                          __/s/ Namrata Loomba__________
                                                          Kathryn Smits, Bar # 13912
                                                          Namrata Loomba, Bar # 20053
                                                          Orlans PC
                                                          PO Box 2548
                                                          Leesburg, VA 20177
                                                          (703)777-7101
                                                          Attorneys for Nationstar Mortgage LLC
                                                          ksmits@orlans.com
                                                          nloomba@orlans.com
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                                 CERTIFICATE OF SERVICE

       The undersigned states that on August 14, 2017, copies of Notice of Appearance were
filed with the Clerk of the Court using the ECF system, which will send notification of such
filing to the following:

Nancy Spencer Grigsby
185 Admiral Cochrane Dr.
Suite 240
Annapolis, MD 21401
grigsbyecf@ch13md.com
Bankruptcy Trustee

Lindsay Cohn Rausch
P.O. Box 930
Sykesville, MD 21784
lrausch@rauschlaw.net
Debtor’s Attorney

and I hereby certify that I have caused to be mailed by first class mail, postage prepaid, copies
of Notice of Appearance to the following non-ECF participants:

William G Spurrell
7116 Harlan Drive
Sykesville, MD 21784
Debtor

                                                      _/s/ Namrata Loomba__________
                                                      Kathryn Smits, Esquire
                                                      Namrata Loomba, Esquire
